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               IN THE UNITED STATES DISTRICT COURT FOR THE
                       NORTHERN DISTRICT OF FLORIDA
                           TALLAHASSEE DIVISION


UNITED STATES OF AMERICA

vs.                                              CASE NO. 4:06cr9-SPM

BRANDON FITZGERALD STEPHERSON,

      Defendant.
                                             /


                          ACCEPTANCE OF GUILTY PLEA

      Pursuant to the Report and Recommendation of the United States Magistrate

Judge, to which there have been no timely objections, and subject to the Court’s

consideration of any Plea Agreement pursuant to Fed. R. Crim. P. 11(e)(2), the plea of

guilty of the defendant, BRANDON FITZGERALD STEPHERSON, to Count One of the

indictment is hereby ACCEPTED. All parties shall appear before this Court for

sentencing as directed.

      DONE AND ORDERED this 20th day of March, 2006.


                                    s/ Stephan P. Mickle
                                 Stephan P. Mickle
                                 United States District Judge
